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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
  charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
  davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
  melissabaily@quinnemanuel.com
     John Neukom (Bar No. 275887)
  johnneukom@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
  jordanjaffe@quinnemanuel.com
    50 California Street, 22nd Floor
  San Francisco, California 94111-4788
    Telephone:     (415) 875-6600
  Facsimile:     (415) 875-6700

  Attorneys for WAYMO LLC
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                                 UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                               CASE NO. 3:17-cv-00939-WHA

                    Plaintiff,                 PLAINTIFF WAYMO’S FEBRUARY 6,
                                            2018 LIST OF NEXT SEVEN WITNESSES
           vs.

    UBER TECHNOLOGIES, INC.;
 OTTOMOTTO LLC; OTTO TRUCKING
    LLC,

              Defendants.
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                                                               CASE NO. 3:17-cv-00939-WHA
                                                         WAYMO’S LIST OF NEXT SEVEN WITNESSES
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 1          Pursuant to this Court’s December 4, 2017 Order (Dkt. 2340) and the parties' stipulation

 2 (1/30/17 Hearing Tr., 106:8-19), Plaintiff Waymo LLC (“Waymo”) hereby submits the following

 3 rolling list of its next trial witnesses:

 4                  1.      Brian McClendon (by deposition)

 5                  2.      Cameron Poetzscher

 6                  3.      Nina Qi

 7                  4.      Lior Ron

 8                  5.      Eric Friedberg

 9                  6.      Melanie Maugeri

10                  7.      Bill Gurley

11                  8.      Eric Tate

12                  9.      Andy Crain

13                  10.     Matt Henley

14                  11.     Richard Jacobs

15                  12.     Michael Janosko

16                  13.     Sasha Zbrozek

17                  14.     Pierre Yves-Droz

18                  15.     Gaetan Pennecot
19                  16.     Dan Gruver

20                  17.     James Haslim

21          Pursuant to this Court's January 18, 2018 Order (Dkt. 2492), Waymo states that it intends

22 to request closure of the courtroom for the final portion of John Bares’ testimony, which has not

23 yet been played, because he will be discussing the substance of Waymo’s asserted trade

24 secrets. Waymo also states that it intends to request closure of the courtroom for portions of the

25 testimony of Pierre Yves-Droz, Gaetan Pennecot, Dan Gruver, and James Haslim.

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                                                    -2-                     CASE NO. 3:17-cv-00939-WHA
                                                                   WAYMO’S LIST OF NEXT SEVEN WITNESSES
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 1   Dated: February 6, 2018        QUINN EMANUEL URQUHART & SULLIVAN, LLP

 2                                    By /s/ Charles K. Verhoeven
 3                                       Charles K. Verhoeven
                                         Attorneys for WAYMO LLC
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                                                    WAYMO’S LIST OF NEXT SEVEN WITNESSES
      Case 3:17-cv-00939-WHA Document 2631 Filed 02/06/18 Page 4 of 4



 1                           ATTESTATION OF E-FILED SIGNATURE
 2         I, Charles K. Verhoeven, am the ECF User whose ID and password are being used to file

 3 this Plaintiff Waymo's February 6, 2018 List of Next Seven Witnesses.

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 5 Dated: February 6, 2018                                  /s/ Charles K. Verhoeven
                                                        Charles K. Verhoeven
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                                                                  WAYMO’S LIST OF NEXT SEVEN WITNESSES
